Case 5:23-cv-00761-SSS-kk Document 14 Filed 08/17/23 Page 1 of 2 Page ID #:56


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 TOSIN BALOGUN                                             CASE NUMBER:
                                           Plaintiff(s),     5:23−cv−00761−SSS−KK
        v.
 INFUSION CAPITAL GROUP, LLC                                     NOTICE OF DEFICIENCY
                                         Defendant(s).        DEFAULT/DEFAULT JUDGMENT

 PLEASE TAKE NOTICE:

 The Clerk cannot enter the requested Default of Infusion Capital Grpup, LLC for the following reason(s):

      No declaration as required by F.R.Civ.P 55(a)
      No proof of service/waiver of service on file
      The name of the person served does not exactly match the person named in complaint
      Proof of Service is lacking required information
      Waiver of Service lacking the signature of the sender and/or the person acknowledging receipt
      Time to respond has not expired
      Answer and/or Motion for Summary Judgment and/or Motion to Dismiss on file
      Request for Entry of Default has been forwarded to the assigned Judge
      Party dismissed from action on
      Case terminated on
      Requesting party shall file a new Request/Application with noted deficiencies corrected in order to
      have default reconsidered.
      Other: The proof of service does not indicate the name of the person authorized and/or who accepted
 X    service on behalf of Infusion Capital Group, LLC. Please file a revised proof of service and another
      request for Clerk to Enter Default once the deficiencies have been corrected.

 The Clerk cannot enter the requested Default Judgment against       for the following reason(s):

      No Entry of Default on file
      No declaration as required by F.R.Civ.P 55(b)
      The name of the person for which Default Judgment is requested does not exactly match the person
      named in the complaint
      Amounts requested differ or exceed the amounts prayed for in the demand for judgment in the most
      recently filed complaint
      A declaration establishing the amount due must accompany the plaintiff’s request for default
      judgment
      No judgment by default may be entered by the Clerk against the United States or an incompetent
      person. The Request for Entry of Default has been forwarded to the assigned Judge
      Amount sought is not for a sum certain or cannot be computed to a sum certain
      Attorney Fees sought not in compliance with Local Rule 55−3
      Amount sought for costs is incorrect
      Case terminated on
      Requesting party shall file a new Request/Application with noted deficiencies corrected in order to
      have default judgment reconsidered.
      Other:

                                      CLERK, U.S. DISTRICT COURT

 Date: August 17, 2023                By: /s/ Sharon Hall−Brown
                                         Deputy Clerk

 CV−52B(09/12)            NOTICE OF DEFICIENCY − DEFAULT/DEFAULT JUDGMENT
Case 5:23-cv-00761-SSS-kk Document 14 Filed 08/17/23 Page 2 of 2 Page ID #:57
                                Sharon_Hall−Brown@cacd.uscoruts.gov




 CV−52B(09/12)      NOTICE OF DEFICIENCY − DEFAULT/DEFAULT JUDGMENT
